                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

In the matter of:

Robert F. Flannery, Jr.
Katherine H. Flannery,                                        Case No. 16-46511-MBM
                                                              Chapter 13
                       Debtors.     /                         Hon. Marci B. McIvor



    ORDER GRANTING DEBTORS’ MOTION FOR RECONSIDERATION AND
  VACATING ORDER ENTERED ON JULY 19, 2016 TERMINATING AUTOMATIC
                  STAY AS TO FUNDS ON DEPOSIT

       This matter is before the Court on Debtors’ Motion for Reconsideration. For the reasons

set forth in an Opinion issued with this Order,

       IT IS HEREBY ORDERED that the Motion for Reconsideration is GRANTED.

       IT IS FURTHER ORDERED that the Order Terminating Automatic Stay as to Funds on

Deposit issued on July 19, 2016 is VACATED.

       IT IS FURTHER ORDERED that Michigan First Credit Union’s Motion for Relief from

Stay as to Funds on Deposit is DENIED.



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Signed on August 19, 2016




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